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UNITED STATES I)ISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION - SANTA ANA

Billie Rene Frances Lillian Powers
PIaintiff,
vs.

BANK OF AMERICA, N.A.; THE
BANK OF NEW YORK MELLON
FfK/A THE BANK OF NEW YORK,
AS TRUSTEE, ON BEHALF OF
THE HOLDERS OF THE
ALTERNATIVE LOAN TRUST
2007-HY9, MORTGAGE PASS-
THROUGH CERTIFICA'.[`BS
SERIES 2007-HY9; SELECT
PORTFOLIO SERVICING, INC.;
QUALITY LOAN SERVICE
CORPORATION; MORTGAGE
ELECTRONIC REGISTRATION
SYSTEMS, INC.;
COMMONWEALTH LAND TITLE
COMPANY; JON SECRIST;
NICHOLE CLAVADETSCHER; and
DOES 1 to 10, inclusive,

Defendants.

 

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Case No. 8:17-cv-01386-DOC*KES

PLAINTIFF’S NOTICE OF OPPOSITION
AND OPPOSITION TO DEFENDANTS
THE BANK OF NEW YORK MELLON
FfK/A TI'IE BANK OF NEW YORK, AS
TRUSTEE, ON BEHALF OF THE
HOLDERS OF THE ALTERNATIVE LOAN
TRUST 2007-HY9, MORTGAGE PASS-
THROUGH CERT[FICATES SERIES 2007-
HY9; SELECT PORTFOLIO SERVICING,
INC.; AND, MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.’S
MOTION T() DISMISS PLAINTIFF’S
THIRD AMENDED COMPLAINT;
MEMORANDUM OF POINTS AND
AUTHORITIES; DECLARATION OF Billie
Rene Frances Lil[ian Powel's IN SUPPORT
THEREOF

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TO ALL PARTIES AND TH]`§IR ATTORNEY(S) OF RECORI):

Plaintifl` Billie Rene Frances Lillian Powers (“Plaintifi”), hereby submits her
Opposition to Defendants THE BANK OF NEW YORK l\/[ELLON F/K!A THE
BANK OF NEW YORK, AS TRUSTEE, ON BEHALF OF THE HOLDERS OF
THE ALTERNATIVE LOAN TRUST 2007-HY9, MORTGAGE PASS-
THROUGH CERTIFICATES SERIES 2007-HY9; SELECT PORTFOLIO
SERVICING, INC.; AND, MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC.’S (cumulatively referred to hereinafter as “Defendants”) Motion
to Dismiss Plaintist Third Amended Cornplaint (‘Motion”).

Plaintiff opposes any and all Motions to Disn'iiss as her evidence. Witness
testimony will prove to any reasonable man and jury that her case has merit and
upon hearing and seeing it would most certainly rule in her favor. Firsthand
knowledge must be presented and hearsay ignored, as this compensable case
proves void Assignments of Deed of Trust, Fraud On The Court, as well as, other
h‘aud that discovery is sure to reveal.

The eleven (1 l) years of Plaintiff’ s accumulated evidence Will prove that the
Defendants intentionally carried out threats of harm against Plaintiff and her heirs
to achieve the theft of Plaintiff’ s property, estate, and quality of life through
conspiring and consorted actions for unjust enrichment Federal, State, and
financial laws, codes, and rules of banking are specific and Defendants cannot
write their own laws, or pick and choose which ones to ignore, but must stand
under the laws set in place for centuries.

This Opposition to Defendants’ Motion is based on the grounds that Piaintiff
has stated all facts sufficient to support allegations against Defendants, as
demonstrated in her Third Amended Complaint (“TAC”). In addition, this

 

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Opposition is based on the pleadings, papers and records on file herein, the
Memorandum of Points and Authorities served and iiled herewith, Declaration of
Billie Rene Frances Lillian Powers herein, and on such oral and documentary
evidence and argument as may be presented at the hearing on this Motion to

Dismiss.

DATED: April 30, 2018 THE LAW OFFICES F ANGELA
SWAN, APC

  

 

Attorney for Plaintitf

 

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MEMORANDUM OF POINTS AND AUTHORITIES

I. INTRODUCTION

About April 13, 2007, Plaintiff opened escrow to purchase her home located
at 40701 Ortega Highway, San Juan Capistrano, California 92530; Orange County
(“Property”). [TAC page 5].

July 2, 2007, Plaintiff closed escrow with purportedly clean title, and took
possession of her Propelty. [TAC page 5, paragraph 20; page 6, paragraphs 25-
27].

Plaintiff’ s Deed of Trust (“DOT”) names COUNTRYWIDE, FSB
(“COUNTRYWIDE”) as original lender. [RJN “B”]. COUNTRYWIDE changed
its name to BAC HOME LOANS SERVICING, LP (“BAC”). BAC was acquired
by Co-Defendant BOA. [TAC page 6, paragraph 28; page 7, paragraph 29; page
23 ].

F rom the commencement of Plaintiff’s purchase of her Property, fraud
began Plaintiff’ s Grant Deed was materially altered [RJN Exhibit “A”; TAC
page 6, paragraph 24; page ll, paragraph 50-51].

Plaintiff was forced by Co-Defendant BOA’s employees to sign fraudulent
loan documents in violation of 15 U.S. Code § 1692d - I-Iarassment or abuse. .. (l)
The use or threat of use of violence or other criminal means to harm the physical
person, reputation, or property of any person. . .” See Co~Defendant BOA’s
employee declarations [Exhibit “l”; TAC page 7, paragraph 31]. Another
fraudulent document associated with Plaintiff’ s Property title. Plaintiff` s health

began to deteriorate, causing her inability to work.

 

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Fraudulent activity against Plaintiff’ s title continues Novernber 5, 2008, a
Substitution of Trustee was recorded in the wrong countv, Riverside Countv,
California. [RJN “E”]. Pursuant to 2934(a)(l) ART[CLE l. Mortgages in
General, provides: “The trustee under a trust deed upon real property. . . may be
substituted by the recording in the county in which the property is located. . .”

May 6, 2010, an invalid Notice of Default (“NOD”) stating to contact TI-[E
BANK ()F NEW YORK MELLON FKA THE BANK OF NEW YORK, AS
TRUSTEE, FOR THE CERTIFICATEHOLDERS CWALT, lNC.,
ALTERNATIVE LOAN TRUST 2007-HY9 MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2007-HY9 (“BONYM”), C/O ofBAC to stop
foreclosure Executed by Recontrust Cornpany, as MERS’ agent. [RJN “H”].

BONYM is a banking holding company that is not legally permitted to do
business with the public, pursuant to 12 U.S. Code Section 1843(c)(14)(F)(iii);
COUNTRYWIDE as current mortgagee, changed its name to BAC. January 2008,
BAC was purchased by Co-Defendant BOA; MERS as current beneficiary,
disqualified to do business in the State of California due to a Franchise Tax Board
suspension [Exhibit “2”]

May 19, 2010, a fraudulently executed Corporate Assignment of Deed of
Trust (“Corporate Assignment”) was recorded, naming MERS’ Certifying ()fficer,
T.Sevillano, as Assistant Secretary, misrepresenting her position, causing the
Corporate Assignment void. [RJN Exhibit “I”; Exhibit “3”, Findings section,
paragraph 2; also, see RJN “H”, upper left]. Glaski adopted from the federal
decisions and a California treatise the view that “a borrower can challenge an

assignment of his or her note and deed of trust if the defect asserted would void the

 

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assignment” not merely render it voidable Glaski v. Bank ofAmerica Nat’l Ass 'n,
218 Cal.App.4th, 1095.

October 26, 2010, another fraudulently executed document titled “Corporate
Assignment of Deed of Trust” (“Assignment of DOT”) was recorded, granting
BONYM all beneficial interest under the DOT. [RJN “K”]. MERS’ Certifying
Ofticer, Defendant NICHOLE CLAVADETSCHER signature is forged, and
Defendant JON SECRIST falsely stated she was present before him, causing this
Assignment of DO'I` void. [TAC page 8, paragraph 36-37; page 9, paragraph 41].
The Assignment of DOT is void. Yvanova v. New Century Mortgage Corp., 62
Cal.<¢‘h 919 (2016).

Civil Code section 1185 provides that a notary must not take an
acknowledgment of an instrument unless he knows, or has satisfactory evidence
that the "person making such acknowledgment is the individual who is described in
and who executed the instrument; . . ." This requirement makes the certificate upon
personal knowledge a guaranty of the genuineness of the instrument Anderson v.
Aronsohn, (1919) 181 Cal. 294, 297 [184 P. 12]; Joost v. Craig (1901) 131 Cal.
504, 509 [63 P. 840].

As a result of `Defendants NICHOLE CLAVADETSCHER and JON
SECRIST unlawiiil business practices, after a 3-month investigation, Plaintiff
received damages of $15,000.00. [TAC page 9, paragraph 42]. The notary and his
surety are liable for ...rnaking a false certificate of acknowledgment Joost v.
Craig, 131 Cal. 504 [63 P. 840, 82 Am. St. Rep. 374]; Anderson v. Aronsohn, 181
Cal. 294 [184 P. 12, 10 A. L. R. 866].

Notary Public Code of Professional Responsibility, Standard I-A-2 makes
clear that a paramount function of the Notary is to deter fraud. 'l`he Illustration of

 

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Standard I»A~Z applies the Standard to an impostor-signer situation Turelman v.
Agricultural Ins. Co., 25 Cal.App.Sd 914 (1972).

Plaintiff relied on her purchase being a lawful conveyance and when the
fraud affecting the title of Plaintiff s Property was discovered and made known,
she was consistently ignored and laws disregarded July 13, 2015, Plaintiff caused
to be recorded a NOD against parties, including the Defendants; parties failed to
respond [TAC Exhibit N; TAC page 8, paragraph 38-39; page 9, paragraph 43;
page 10, paragraph 47; page 12, paragraph 54-56, and 59].

October 31, 2013, an invalid NOD was recorded, executed by Defendant
QUALITY LOAN SERVICE CORPORATION (“Defendant Quality”),
fraudulently named as Trustee, with an attached California Declaration of
Compliance stating CCP section 2923.55(c), does not apply, because the Property
is not owner occupied as defined by California Civil Code section 2924.15. [RJN
“L”]. Plaintiff has resided in her residence until she was wrongfully evicted
September 21, 2017. [RIN “M”; TAC page 12, paragraph 58; page 15, paragraph
76].

Defendant QUALITY repeatedly harassed Plaintiff in violation of 15 U.S.
Code § 1692d - Harassment or abuse .. [TAC page 9, paragraph 44; page 10,
paragraph 45; page 11, paragraph 52; page 13, paragraph 64; page 14, lines 1-20].

December 6, 2013, another invalid NOD was recorded and fraudulently
executed Again, with attached declaration stating CCP section 2923.55(0) does not
apply to Plaintiff. [RJN “M”].

January 10, 2014, Plaintiff contacted Defendant SPS’s Consumer

Ombudsmen, and was assigned Karla Richards, who took an interest in resolving

 

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Plaintiffs’ claims against Defendants. [Exhibit “4”]. Soon thereafter Plaintiff’s
email, Karla no longer was employed there

February 28, 2014, an invalid Substitution of Trustee was recorded, listing
Defendant BONY as present beneficiary, substituting Defendant QUALITY as
Trustee; notwithstanding the void Assignment of DOT, recorded October 26,
2010, listing BONYM as beneficiary. [RJN “K”]. In addition, the Substitution of
Trustee was not recorded in the correct Countv Recorder’s Office pursuant to
2934(a)(1). [TAC Exhibit K].

September 25, 2014, Plaintiff’ s Credit Report reflects that Defendant BOA’s
debt was satisfied Thereafter, Defendant SELECT PORTFOLIO SERVICING,
INC. (“Defendant SPS”) opened an account as Plaintiff s lender. [Exhibit “5”].

February 29, 2016, Defendant SELECT, purported loan servicer, set up a

 

meeting to resolve the Property dispute [TAC page 13, paragraph 60-62]
Defendant SPS failed to complete resolution; instead, proceeded with the
foreclosure August 16, 2016, without Plaintiff knowledge utilizing all fraudulent
documents [TAC page 13, paragraph 62].

The Notice of Trustee’s Sale recorded, September 30, 2015, [RJN “O”] is
invalid, as direct evidence demonstrates that both the Substitution of Trustee [TAC
Exhibit K] and the Assignment of DOT [RJN “K] were fraudulently executed.

Notwithstanding, the fraudulently executed Assignment of DOT recorded,
listing BONYM, as beneficiary [RJN “K”], the Trustee’s Deed Upon Sale, lists
Defendant BONY, as beneficiary, granting Plaintiff’ s Property to Defendant
BONY, naming Defendant QUALITY, as Trustee [RJN “P”].

 

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Bank Statements, including the payoff amount for said Property, and
Property tax Bill continues to come in Plaintiff’ s name [Exhibit “6”; TAC Exhibit
M; TAC page 14, paragraph 66].

September 28, 2017 and September 28, 2017, Plaintiff received entails from
Defendant BONY’s Vice President, who stated that Plaintiff should reach out to
her Master Servicer, Defendant BOA, and he stated the Defendant BONY “is
acting as a Trustee, and therefore we do not own the loan or the property. . . .BNY
Mellon is not involved in servicing of the loans or the foreclosure process.”

[Exhibit “7”, page 2]. Defendant BONY has committed fraud on the court as it

 

claims as foreclosing beneficiary and owner of Plaintiffs Property. Aoud v. Mobz‘l
Oil Corp., 892 F.2d 1115, 1118 (lst Cir. 1989).
II. DEFENDANTS’ MOTION_'I_;_(_) DISMISS SH()ULD BE DENIED

Under Federal Rules of Evidence, Rule 201, Defendants filed Request for
1 udicial Notice. “. . .notice of their existence and contents, though not of disputed
or disputable facts stated therein. Glaski v. Bank of Amerz`ca, (2013) 218
Cal.App.4th 1079, 1102 [160 Cal. Rptr. 3d 449].

Pursuant to Rule 12(b)(6) Plaintif`f’ s “factual allegations” demonstrate
irrefutable evidence to her right to relief. Direct evidence proving an unlawii.ll
grant deed, unlawful loan modification documents, unlawful corporate assignment
constituting a void assignment, forgery, fraud, including fraud on the court,
reckless disregard for state and federal laws, and so on. Plaintiff s TAC, not only
meets, but exceeds the standards governing the form of a complaint as required by
Federal Rule of Civil Procedure, Rule 8(a). Specifically, this Couit has personal
jurisdiction over the Defendants, and the complaint sufficiently alleges causation

and harm.

 

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To the extent that there are factual issues in dispute the court must assume
the truth not only of all facts properly pled, but also of those facts that may be
implied or inferred from those expressly alleged in the complaint th'te v. Davis,
(1975) 13 Cal.3d 757, 765; Dunn & Crutcher, (1995) 37 Cal.App.4th 1397, 1403;
Rose v. Royal Ins. Co., (1991) 2 Cal.App.4th 709, 716).

III. ARGUMEN'I`
A. Legal Standard

1. Under Rule 12(b)(6)

A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests
the sufficiency of a complaint Kost v. Kozakiewicz, l F.3d 176, 183 (3d Cir.
1993). The defendant bears the burden of demonstrating that the Plaintiff has
not stated a claim upon which relief can be granted Fed. R. CIV. P. 12(b)(6);
Hedges v. Um`ted States, 404 F.3d 744, 750 (3d Cir. 2005); Bell Atl. Corp. v.
rwambly, 550 U.s. 544, 555 (2007).

Furthermore, the complaint’s “factual allegations must be enough to raise
a right to relief above the speculative level.” Id. At 234; Twombly, 550 U.S. at
555. “This ‘does not impose a probability requirement at the pleading stage,’
but instead ‘simply calls for enough facts to raise a reasonable expectation that
discovery will reveal evidence of the necessary element.”’ Id; Twombly, 550
U.S. at 556.

Moreover, when evaluating a motion to dismiss, the court must accept as
true all well-pleaded allegations of fact in the Plaintiff`s complaint, and must
view any reasonable inferences that may be drawn therefrom in the light most
favorable to the Plaintiff. Id.; Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256,
260 (3d Cir. 2006).

 

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When reviewing a motion to dismiss, a district court "must consider the
complaint in its entirety, as well as other sources courts ordinarily examine
when ruling on Rule 12(b)(6) motions to dismiss, in particular, documents
incorporated into the complaint by reference and matters of which a court may
take judicial notice." Tellabs, Inc. v. Makor Issues Rights, Ltd., 551 U.S. 308,
322, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007) (citations omitted).

B. Standing

A foreclosed-upon borrower clearly meets the general standard for
standing to sue by showing an invasion of his or her legally protected
interests Angelucci v. Century Supper Club, (2007) 41 Cal.4th 160, 175 [59
Cal. Rptr. 3d 142, 158 P.3d 718].

In Yvanova v. New Centwjy Mortgage Corp., (2016) 62 Cal.4th 919
[199 Cal. Rptr. 3d 66, 365 P.3d 845] the California Supreme Court held that
in a case such as this, where a homeowner alleges a nonjudicial foreclosure
sale was wrongful because of a void assignment_the homeowner has
standing to sue for wrongful foreclosure (ld. at pp. 942_943.)

A homeowner who has been foreclosed on by one with no right to do
so has suffered an injurious invasion of his or her legal rights at the
foreclosing entity's hands. No more is required for standing to sue
Angeluccz' v. Cenrurjy Snpper Club, supra, 41 Cal.4th at p. 175.

In reviewing a motion to dismiss, all factual allegations must be
accepted as true, and the complaint must be construed in Plaintiffs favor to
determine whether, under any reasonable reading of the complaint, Plaintiff
may be entitled to relief. Nationwide L#e Ins. Co. v. Commonwealth Land

Tl`tle Ins. Co., 579 F.3d 304, 307 (3rd Cir. 2009)

 

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Defendants argue that all of Plaintiff`s causes of action are all part of
the February 17, 2009, Chapter 7 bankruptcy case, and they may only be
brought by the Chapter 7 Trustee A cause of action belongs to the debtor at
the time of the bankruptcy filing and thus is transferred into the bankruptcy
estate if the cause of action had “accrued” at the time of filing State Farm
Li'fe Ins. Co. v. Swifi‘, 129 F.3d 792, 795 (5th Cir. 1997). Under California
law, “[a] cause of action accrues ‘when [it] is complete with all of its
elements’- those elements being wrongdoing harm, and causation.” Pooshs
v. Phili'p Morris USA, Inc., 51 Cal.4th 788, 797 (2011).

In this case, the wrongful foreclosure which is the gravamen of the
Plaintiff" s TAC did not occur until August 8, 2016, long after the bankruptcy
filings and therefore did not accrue pre-petition.

Defendant’s Motion to Dismiss under Rule 12 (b)(6) must be denied if
the TAC contains sufficient factual matter to state a claim that is plausible
on its face Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3rd Cir. 2009)
citing Ashcroji‘ v. Iqbal, US. , 129 S. Ct. 1937, 1949 (2009).

C. Plaintiff Nained All Indispensable Parties

Defendants argue that “Plaintiff` fails to name . .Louise J. Hanson, and
Jacqueline J. Hanson, who co-signed the Note. . . and, she fails to name
Thomas F. Peppers...” [Motion, page 7, lines 14~19].

Louise .l. Hanson was forged on the fraudulent Grant Deed, his correct
name is Louis .l. Hanson. [RJN “A”, “B”]. Louis J. Hanson is deceased and
has been since May 6, 2014.

Jacqueline M. Hanson was an alleged co-obligor on the Note and was

identified on the fraudulent Grant Deed and the DOT. She was subsequently

 

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removed from title via a Grant Deed recorded July 10, 2007. Jacqueline M.
Hanson is not an indispensable party. [RIN “C”].

Defendants allege that Thomas F. Peppers was the rightful owner of
said Property, when foreclosure sale occurred, a “Mutual Agreement for the
Recession of Trustee’s Deed and Reconveyance of Deed of Trust was
recorded This document was recorded; document #2013000372246.
Thomas F. Peppers is not an indispensable paity.

If the court decides that other Defendant(s) should be joined, Plaintiff
will add them accordingly

D. Judicial Estopple Is An Inadequate Defense

Plaintiff filed her federal complaint, August 11, 2017, after her
bankruptcy filings [RJN Exhibits “Q”, “R”, “U”, “W”, “X”, “Y”, “Z”,
“CC”, “DD”, “JJ”, “KK”]. Plaintifi’s complaint, at the time of her
bankruptcy filings, was not pending or considered as “soon to be filed.” ln
addition, eight years prior to Plaintiff filing her federal complaint, Plaintiff s
chapter 7 bankruptcy case, filed February 17, 2009, received a discharge (or
a confirmed plan). [RJN Exhibit “S”]. All other bankruptcy filings were
dismissed [RJN “T”, “V”, “AA”, “BB”, “EE”, “KK”].

The Purpose of .ludicial Estopple “is to protect the integrity of the
judicial process by prohibiting parties from deliberately changing positions
according to exigencies of the moment.” M. Ah Quin v. County ofKauai`
Deparrment of Transportarion, 733 F. 3d 270 (9”’ Cir. 201 3). Intent to
conceal is absent in this case Irz M. Ah ®)uin, supra at 276-277.

 

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Here, Plaintiff had no idea of the fraudulent Grant Deed. Having no
knowledge of the fraud, Plaintiff had no obligation to list the cause of action
in her Schedule B. Plaintiff did, in fact, disclose what she was aware of.

The Plaintist lack of knowledge of the fraud perpetrated on her by a
third party renders J udicial Estopple inapplicable as a matter of law.

E. Plaintiff Owned Her Propertv At The Time Of The August 8. 2016
Foreclosure Sale
The Second Trust Deed held by Thomas Peppers Was settled as agreed

and a reconveyance of the DOT. This case is irrelevant
F. Count I Of Plaintiff’s TAC Properlv Alleges “CONSPIRACY”

In moving to dismiss Q_Qg_n_t_l, Defendants mischaracterize Plaintiff’s
TAC and attack claims that are not actually made, and ignore decades of
governing case law concerning Defendants’ capacity of liability.

Collectively, each Defendantjointly subjected Plaintiff to a group of
events Each Defendant played a role in the furtherance of the scheme to
wrongiillly foreclose upon Plaintiff S Property. Therefore, all Causes of
Action apply to all Defendants. Kidron v. Movie Acquisition Corp., (1995)
40 Cal.App.4th 1571, 1582 [47 Cal.Rptr.Zd 752].

Plaintift’s current life situation is a proximate cause of a Conspiracy.
First, the Defendants mischaracterize the substance of Qu_n__t_l, by arguing

“£¢

that it concerns unfair” loan origination, and that there were
‘misstatements and omissions in the mortgage loan transfer.” [Motion, Page
13, lines 1'2]. Defendant then argues that Plaintiff has no standing to assert
such a claim because “Plaintiff’s “conspiracy” claim fails, as Plaintiff has
not alleged any wrongdoing on the part ofLoan Defendants to state a

claim.” [Motion, page 13, lines 17-18].

 

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After reviewing all the evidence collectively, the following is a reality
of what is to be a conspiracy comprised of a group of people, with individual
roles to perform, consisting of diversified professions, working together to
achieve a desired goal for “economic gain, despite the unlawful nature of the
acts and the rights of others that had to be violated

'"[T]he major signilicance of the conspiracy lies in the fact that it
renders each participant in the wrongful act responsible as a joint tortfeasor
for all damages ensuing from the wrong, irrespective of whether or not he
was a direct actor and regardless of the degree of his activity.' " Applied
Applied Equipment Corp. v. Litton Saudi Arabia Ltd., (1994) 7 Cal.4th 510-
514, 28 Cal. Rptr.2d 475, 869 P.Zd 454.

This clever attack on Plaintiff’s TAC might have some merit if _C_U
l was limited merely to the Defendants interpretation, which is stated in its
motion. However, QQM alleges much more than that. In fact, it asserts,
inter alia:

Plaintiff s true allegations against Defendants relates to Defendants’
involvement in a conspiracy of events orchestrated to force Plaintiff to move
out of her home involuntarily, while violating her rights pursuant to 18 USC
section 242, states “Detinition and penalty for deprivation of Citizen’s rights
under color of law. Where two or more conspire to act under color of law to
deprive American Citizen of Constitutional rights, all parties are subject to
prosecution for conspiracy (extortion).”

This conspiracy did not emphasize a managing agent; therefore, the
conspiracy’s managing agent must have authority to set company~wide

policy, i.e., "forrnal policies that affect a substantial portion of the company

 

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and that are the type likely to come to the attention of corporate leadership
lt is this sort of broad authority that justifies punishing an entire company for
an otherwise isolated act of oppression, fraud, or malice." Major v. Westem
Home Ins. Co., (2009) 169 Cal. App. 4th 1197.

Co-Defendant BOA, as Master Servicer, “covert act”’, hid its head
underneath the sand and had no intentions in being visible until Plaintiff
filed her Civil Complaint August 11, 2017 . Defendant BOA determined the
levels of pressure Plaintiff would receive to force her to move involuntarily
and it stood back and allowed the following to occur.

Defendant BONY “overt act” carried out all orders to disturb
Plaintift’s quiet enjoyment, showing up unannounced, and posing as
beneficiary, ultimately achieving the goal of Property Theft, committing
“criminal fraud” to obtain possession of Plaintiff Property by tricks and lies.

Defendant SPS “covert act” as the purported loan servicer participated
in initiating the unlawful foreclosure upon Plaintiff’s Property.

Defendant QUALITY “overt act”, of harassment Repeatedly
recorded fraudulently executed NOD’S to torment, affecting Plaintiff’s
psychological strength, and ultimately conducted an unlawful foreclosure

Defendant lv[ERS “covert act” purportedly as beneficiary, while on a
Franchise Tax Board suspension from doing business in the State of
California.

Defendant COMMONWEALTH LAND TITLE COMPANY “overt
act” as Plaintift’s title insurance company, refused to render services
pursuant to Plaintiff’s coverage and hid its head in the sand as Plaintiff’ s title

issues escalated

 

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Defendant JON SECRIST “covert act” as Notary Public and
Defendant NiCHOLE CLAVADETSCHER “covert act” as MERS
Certifying Officer ensured that the void Assignment of DOT appeared
lawful to record

"Of` course, the agreement between conspirators need not be proved
by direct evidence, but may be shown by circumstantial evidence that tends
to show a common intent. ln fact, in the absence of a confession by one of
the conspirators, it is usually very difficult to secure direct evidence of a
conspiracy, so that in the usual case the ultimate fact of a conspiracy must be
determined from those inferences naturally and properly to be drawn from
those matters directly proved." Peterson v. Cruz'ckshank, (1956) 144
Cal.App.Zd 148, 163 [300 P.2d 915] (internal citations omitted).

Plaintiff’s allegations of the crimes show special circumstances. The
willfulness along with various other roles and factors of their actions are not
justified Groups; not isolated individuals, illegal aims, not ones that would
benefit society as a whole, orchestrated acts, ones of secret planning.

Defendants mischaracterize what is necessary to support a finding of a
civil conspiracy As long as two or more persons agree to perform a
wrongful act, the law places civil liability for the resulting damage on all of
thcm, regardless of whether they actually commit the tort themselves
Unmh v. Truck Insurance Exchange, (1972) 7 Cal. 3d 616, 631 [102 Cal.
Rptr. 815, 498 P.2d 1063].

ln conclusion, Plaintiff"s case is a civil conspiracy Mosier v.
Sourhem California Physicians Insurance Exchange, (1998) 63 Cal.App.4th
1022, 1048 [74 Cal.Rptr.Zd 550].

 

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G. Count II Violation of l_}gpartment of Housing and Urban Development

(“HI_.l_D”) and (__Iount III Violation of Homcowner’s Bill of Rights
(HBOR) Propeer Alleges that Defendants Violated “HUD” and
“HBOR”

In moving to dismiss Count 11 and 111 Defendants again

 

mischaracterizes Plaintiff s TAC, attacking claims that are not actually
made.

Defendant argues that Count 11, “HUD does not give the borrower a
private cause of action unless the regulations are expressly incorporated into
the lender-borrower agreemen .” [Motion, page 13, lines 23-25].

Defendants were not authorized by the Secretary of HUD pursuant to
HUD regulations to conduct the foreclosure sale upon Plaintiff Property,
inter alia. Defendants’ Notices of Default were not ever in compliance with
CFR Section 203.602, as per the ruling in Federal Nan`onal Morrgage
Association v. Moore 609F. Supp. 194 (N.D.Ill 1985).

The Defendants then set forth five pages of argument supporting the
irrelevant and undisputed notion that Plaintiff"s HBOR claim fails due to
Plaintiff failing to tender and “plaintiff does not appear to have been eligible
for any federal, state, or propriety foreclosure prevention alternative
program. . .she did not have title to the property.” [Motion, pages 14-18,
paragraphs l9A.-E; page 15, lines 14-16]. Plaintiff was the legal owner of
her Propeltv and held the title to her Property. [Motion, Page 3, paragraph
5]. “Plaintiff was not deprived of the opportunity to apply for loan
modification.” [Motion, Page 17, lines 6-7].

 

 

 

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Defendants continue on to state, Plaintiff obtained loan modifications
(eight (8) years ago), which establishes compliance [Motion, Page 17, lines
14-15]. Defendants fail to state that the last loan modification Plaintiff
received was invalid

In further support of a borrower's standing to challenge the foreclosing
party's authority, plaintiff points to provisions of the recent legislation
known as the California Homeowner Bill of Rights, enacted in 2012 and
effective only after the trustee's sale in this case. Lueras v. BAC Home Loans
Servicing, LP, (2013) 221 Cal.App.4th 49, 86, fn. 14 [163 Cal.Rptr.3d 804].

H. Tender Is Not Required

Tender has been excused when, among other circumstances the
plaintiff alleges the foreclosure deed is facially void, as arguably is the case
when the entity that initiated the sale lacked authority to do So. Lester v. .IP.
Morgan Chase Bank, G\I.D.Cal. 2013) 926 F. Supp. 2d 1081, 1093;
Barrionuevo v. Chase Bank, N.A., supra, 885 F. Supp. 2d 964, 969~970.

Defendants argues that the plaintiff has failed to allege the ability to
comply with the tender rule. The tender rule is applicable in equitable
actions to set aside a trustee’s sale. To the extent this Plaintiffs wrongful
foreclosure case is founded on the fact that the Assignment of DOT is void,
this action in gp_§ an equitable action to set aside a foreclosure sale, rather it
is an action at law to declare the foreclosure sale void Tender is not
required, when the trustor is not required to rely on equity to attach the deed
as void Lona v. Citibank, N.A., 202 Cal.App.4th 89, 112-113 (2011).

 

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I. Co!_i__nt V Properlv Alleges that Defendants Foreclosure Sale was
performed after the Six-Year Statgte of lI__.,_i_mitations E_r_r_pired
Defendants have committed fraud on the court by arguing that “the

Commercial Code does not apply to transactions involving real property. ..
The applicable statute of limitations relating to the enforcement of deeds of
trust is Civil Code section 882.020.” [Motion page 19, paragraph 21., lines
8-9 and 13-14]. Plaintiff TAC only describes a negotiable instrument See
Cal. U. Com. Code, § 1201, Subd (b)(lO); Dorman v. Internarional
Harvesrer Co., (1975) 46 Cal.App.Sd ll, 18-19, 120 Cal. Rptr. 5]6, the trial
court found the promissory notes were negotiable instruments governed by
the six-year statute of limitations

The acceleration of the balance due commenced its accrual of the six
year statute of limitations, May 6, 2010, as provided by Unif`orm
Commercial Code - Article 3, Negotiable Instruments (2002), Part 1.
General Provisions and Definitions, section 3-118(a). As a result of the
statute of limitations the Note became unenforceable

J. Count VI Properlv Alleges “Y_ROMISSORY ESTOPPEL”
1n moving to dismiss Count VI, Defendants again mischaracterizes

Plaintiff’s TAC by arguing that “the loan origination is barred it is
unclear what ‘promise’ Plaintiff alleges she relied upon. .. promissory
estoppel cannot be stated where there is a valid, enforceable contract
between the parties.” [Motion, page 19, paragraph 22A. and B.].

On one hand, Defendants state “there is a valid, enforceable contract
between the parties.” [Motion, page 20, lines 1-2]. On the other hand,
Defendants, state Plaintiff is not the real party in interest [Motion, page 9,
paragraph 10].

 

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In addition, throughout Plaintiff’ s entire TAC, she demonstrates in
detail, a clear and unambiguous picture as to what she relied upon. Plaintiff
relied upon her investment being a lawful conveyance, with duly perfected
title. Gruen Indus. Inc. v. Bz`ller, 608 F.2d 274 (7th. Cir. 1979); Wrz'ght v.
U.S. Rubber Co., 280 F. Supp 616 (D. Or. 1967) (applying Oregon law);
Bender v. The Design Store, 404 A.2d 194 (D.C. 1979). ln these caSeS,
reliance is often reasonable in the sense that a reasonable person would rely.

K. Count VlI Propeer Alleges “WRONGFUL FORECLOSURE”
In moving to dismiss Plaintiff’ s entire TAC, Defendants fail to argue

Count VII.

The foreclosure laws in California must be strictly followed or the
foreclosure sale is void ln Mller v. Cote, 179 Rptr. 753 (Ct. of App. Fourth
Dist. Div. 2 1982) the court in calling the Notice of Default fatally defective;
stated: See civil code 2925, et. seq.e statutory requirements complied with,
and a trustee’s sale based on a statutorily deficient Notice of Default is
invalid

While it is the trustee who formally initiates the nonjudicial
foreclosure, by recording first a notice of default and then a notice of sale,
the trustee may take these steps only at the direction of the person or entity
that currently holds the note and the beneficial interest under the deed of
trust_the original beneficiary or its assignee--or that entity's agent. § 2924,
subd (a)(l), notice of default may be filed for record only by the trustee,
mortgagee, or beneficiary; Kachlon v. Markowz`tz, (2008) 168 Cal.App.4th
316, 334 [85 Cal. Rptr. 3d 532].

 

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Defendants were unauthorized to participant in the initiation, as well
as, conduct a foreclosure sale upon Plaintiff’s Property. The borrower is
entitled to relief from foreclosure by an unauthorized party. Culhane v.

Aurora Loan Servs. of Neb., 708 P.3d 290 (lst Cir. 2013).

L. Col_lnt VIII Properlv Alleges “WRONGFUL EVICTION”
In moving to dismiss Count VIII, Defendants state “. . .federa.l review

of state court judgements can be obtained only in the United States Supreme
Court. .. A state court judgment will be res judicata on all claims...”
[Motion, page 20, paragraphs A. and B].

Plaintiff has not requested a federal review of a state court judgment
Under section 1161a, a purchaser Who has acquired the title at such
Trustee’s Sale must prove that the property was sold in accordance with
section 2924 of the Civil Code and that title under the sale has been duly
perfected Sez`dell v. Anglo-Calz`fornia Trust Co., (1942) 55 Cal.App.Zd 913,
920, italics added.) A factual showing is lawfully required pursuant to the
Fourth Amendment. Franks V. Delaware, 438 U.S. 154, 165-66 (1978)

A post-foreclosure unlawful detainer plaintiff must prove compliance
pursuant to Civil Code section 2924. Bank of New York Mellon v. Preciado,
(2013) 224 Cal. App.4th Supp. At p. 9. “Under a deed oftrust, the power of
sale upon the trustor’s default vests in the trustee. (Id. At p.lO). Therefore,
in order t prove compliance with Civil Code section 2924, a plaintiff must
necessarily prove the sale was conducted by the trustee authorized to

conduct the trustee’s sale. (Ibicl.)

 

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M.Count lX Properlv Alleges “BREACH OF CONTRACT”
In moving to dismiss Count IX, Defendants ignore decades of

governing case law and regulations

The fundamental goal of contractual interpretation is to give effect to
the mutual intention of the parties. (Civ.Code, § 1636; Bank ofthe Wesr v.
Superior Court (]992), 2 Cal.4th 1254, 1264, 10 Cal.Rptr.Zd 538, 833 P.2d
545 ; Parsons v. Bristol Developmenr, Co. (1965) 62 Cal.2d 861, 865, 44
Cal.Rptr. 767, 402 P.2d 839.

Plaintiff purchased her Property with the intent that she and her lender
would have a business relationship, where her lender would protect the
interest of both parties.

Defendants mischaracterize Plaintiff’s TAC by arguing that “To base
a claim on a contract, a party must either attach the agreement or allege the
substance of all of its relevant terms.” [Motion, page 21, paragraph 24A].
“”. . constituting the defendant’s breach should be stated with certainty.”
[Motion, page 21, paragraph 24A]. “. . .a plaintiff must allege facts
indicating he performed all conditions under the contract.” [Motion, page
21, paragraph 24C].

Plaintiff’ s TAC outlines in detail much of the relevant terms of the
contract, i.e. notice of default requirements, HUD regulations, and so forth.
ln addition, terms are detailed in the attachment to Plaintiff’ s DOT. [R}N
“B”].

In actions arising from contracts for construction financing, trustee's
sale of property was set aside because lender did not comply with notice of

default requirements, and guarantor was not in default of loan where lender

 

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breached contract System Im). Corp v. Union Bank, (1971) Cal App. 3d.
137, 152-153, 95 Cal. Rptr. 735. Defendants in this case did not comply

 

with the notice of default requirements

Count IX seeks to hold Defendants accountable for its deliberate
failure to stop the chain of fraudulent real Property documents from being
recorded and filed. -

N. Count X Properlv Alleges ‘§ERAUD AND DECEI'I`”
In moving to dismiss Count X Defendants mischaracterize the

 

substance of Plaintiff’s TAC by arguing “. . .the attack on foreclosure fails. . .
Plaintiff fails to allege .. .ill intent.” [Motion, page 21 , line 25; Motion, page
22, line l].

From the start of Plaintiff s purchase of her Property, fraud
commenced and followed Once Plaintiff signed all relevant loan
documents, including the Promissory Note, and the original lender obtained
Plaintist down payment, Plaintiff was added to the many homeowners
whom would inevitably face foreclosure due to fraud and deceit It is the
element of intent which makes fi'aud actionable, irrespective of any
contractual or Hduciary duty one party might owe to the other. Lacher v.
Superior Court, (1991) 230 Cal.App.3d 103 8, 1046-1047, 281 Cal.Rptr.
640.

Fraud and Deceit is demonstrated throughout Plaintiff’s TAC with
particularity, including, in fact, all Defendants were knowledgeable of the

misrepresentation that Plaintiff relied upon.

 

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lt must appear, however, not only that the plaintiff acted in reliance
on the misrepresentation, but that she was justified in his reliance...” Seeger

v. Odell, (1941) 18 Cal.2d 415.

O. Count XI “Declaratory Relief” and Count XII “Quiet Title” Properly

Alleges
In moving to dismiss Counts XI and Xll, Defendant argues that

“.. .cloud upon [Plaintiff`s] title persists until the debt is paid. . .To state a
quiet title, a plaintiff must state establish she has superior title to the
property in dispute. . . To seek quieted title, a plaintiff must allege “[t]he
adverse claims to the title”.. . .. Plaintiff fails to state an actual controversy.”
[Motion paragraphs A.-D.]

Upon Plaintiff’ s purchase of her Property, she has held superior title.
[RJN Exhibit “B”]. Plaintiff is the rightful owner of her Property, which has
superior right in an action to Quiet title.

Plaintiff have demonstrated throughout her TAC that she is "the
rightful owner of the property, See Hafiz v. Greenpoint Morrgage, Inc. , 652
F. Supp. 2d 1039, 1049-1050 (N.D. Cal. 2009); Kelley v. Mortgage
Elecrronic Regz`stration Systems, Inc., 642 F. Supp. 2d 1048, 1057 (N.Di Cal.
2009); Gaitan v. Morrgage Electronic Registration Systems, Inc., 2009 U.S.
Dist. LEXIS 97117, 2009 WL 3244729 at * 12 (C.D. Cal. Oct.5, 2009).

Plaintiff’s TAC outlines in great detail Defendants adverse claims to
Plaintiff’ s title, including the wrongful eviction where Defendant BONY
now has taken possession of Plaintist Property.

P. Count XIV Properly Alleges “Intentional Infliction of Emotional
__I)iitress “IIED”” and Count XV Properly Alleges “Negl_igent Infliction
of Er_potional Distress “NIED””

 

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In moving to dismiss Counts XIV and XV, Defendants argue “This
tort claim is barred by the litigation privilege of Civil Code section 47. ..
...defendant’s conduct must be so outrageous . . Plaintiff"s claim fails for
lack of intent. . .”, and argues that the NlED claim is pled as an independent
tort, fails for lack of a duty, and Plaintiff fails to plead facts of breach or an
injury caused by Defendants. [Motion, page 24, paragraph 28A.-D.].

The judicial proceeding relating to the unlawful foreclosure upon
Plaintist Property is not protected under the “litigation privilege.”
Defendants were not authorized by law, as Plaintiff’ s TAC demonstrates, to
imitate or conduct a foreclosure sale upon Plaintiff’s Property. Wise v.
Ikrifry Payless, Inc., (2000) 83 Cal.App.4th 1296, 1303 [100 Cal. Rptr. 2d
437].

As a general rule, a financial institution owes no duty of care to a
borrower when the institution's involvement in the loan transaction does not
exceed the scope of its conventional role as a mere lender of money."
Nymark v. Heart Fed. Sav. & Loan Ass'n, 231 Cal. App. 3d 1089, 1096, 283
Cal. Rptr. 53 (Ct. App. 1991).

As Plaintiff’ s TAC demonstrates, Defendants scope exceeded the
“conventional role as a mere lender of money.”

Defendants and Co-Defendants collectively participated in this
growing problem of fraud. COUNTRYWIDE, Defendants, and Co-
Defendant BOA engaged in many different types of businesses, such as:

Mortgage Loans and Servicing Mortgage Loans, Securities, Underwriter. ..

 

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Q. Count XVI Properlv Alleges “Unfair Competition”
In moving to dismiss Count XVI, Defendants mischaracterize the

substance of Plaintiff’ s TAC by arguing that “Plaintiff here fails to allege
particular facts of unlawful or unfair business practices. . .” Also, Defendants
argue that Plaintiff"s claim fails viability of unlawful conduct. .. Plaintiff has
not alleged lost money or property due to Loan Defendants.” [Motion, page
25, paragraphs 29A., B., and C].

Plaintiff’ s TAC details Defendants’ viable unlawfiil and unfair
business practices, with direct evidence. ln addition to Plaintiff"s monetary
investrnent, which she lost as a result of this Mortgage scheme, which
Defendants played a role and concealed

Through the scheme, Defendants (1) directly and indirectly employed
a scheme, device and artifice to defraud and mislead borrowers and fraud
any person; (2) directly and indirectly engaged in an unfair and deceptive act
toward a person; (3) directly and indirectly obtained property by fraud and
misrepresentation; and (4) knowingly made published and disseminated
false, deceptive and misleading information

"[A] UCL action based on a contract is not appropriate where the
public in general is not harmed by the defendant's alleged unlawful
practices." ILWU-Prl/L»i Welfare Plan Bd. ofTrs. v. Conn. Gen. Lz`fe Ins. Co.,
No. C-02965-WHA, 2015 U.S. Dist. LEXIS 170832, 2015 WL 9300519, at
* 12 (N.D. Cal. Dec. 22, 2015).

COUNTRYWIDE became the largest home mortgage lender in the
United States, having originated over $850 billion in loans throughout the

United States and as a result of its fraud, many homeowners lost their homes

 

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IV.

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due to disregarded guidelines, and federal and state laws, which drove
COUNTRYWIDE to the brink of bankruptcy, survived by the acquisition of
Co-Defendant BOA. Fraud against the American people was collectively
committed by Defendants in furtherance of the scheme.

The "central issue . . . is whether the public at large or consumers
generally, are affected by the alleged unlawful business practice of
defendants The relative size of the plaintiff companies and whether or not
there is a contract for the plaintiffs to rely upon is secondary to the analysis
of whether, as a result of the alleged unfair or fraudulent business practice,
consumers are adversely affected." ln re Webkz'nz Antizmsr Litz'gatz'on, 695 F.
Supp. 2d 987, 998-99 (N.D. Cal. 2010).

CONCLUSION
The Third Amended Complaint more than adequately alleges that

Defendants are liable for bringing harm to Plaintiff For the foregoing reasons and
all the others discussed in Plaintiff s Third Amended Complaint, the present
Motion to Dismiss should be denied

DATED: April 30, 2018 THE LAW OFElCES OF ANGELA

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36th Swan,

Attorney for Plaintiff

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PLAINTIFF’S NOTICE OF OPPOSITION AND

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CERTIFICATE OF SERVICE

1 hereby certify that on April 30, 2018, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to the following:

Steven M. Dailey: steven.dailev@kutakrock.com

 

Rebecca L. Wilson: Rebecca.wilson@kutakrock.com

 

DATED: Apri130, 2018 THE LAW OFFICES OF ANGELA
SWA , AP

  

 

JAn`lgela Swan,
Attorney for Plaintiff

 

PLAlNTlFF’S NOTICE OF OPPOSITION AND

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